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Exhibit 64
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UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF CALIFORNIA
SAN FRANCISCO DIVISION

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In Re: CATHODE RAY TUBE (CRT)
ANTITRUST LITIGATION,

Plaintiff,
Case No.
07-5944 Sc
MDL No. 1917

This Document Relates to:

ALL ACTIONS,

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VIDEOTAPED DEPOSITION OF MARGARET SLAGLE

TUESDAY, MARCH 20, 2012

REPORTER: BALINDA DUNLAP, CSR 10710, RPR, CRR, RMR

Margaret Slagle

BARKLEY

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Court Reporters

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A. Yes.

Q. Okay. Do you know who manufactured the
television?

A. As far as I know, it was Magnavox. No, I
guess.

Q. Is Magnavox a defendant in this case?

A. Not that I'm aware of. I am not sure.

There's several defendants in the case.

Q. Do you know whether or not Magnavox is a
defendant?

A. I think it is, but I'm not sure.

Q. Okay. Do you know who manufactured the

CRT tube within the Magnavox television?

A. No.

Q. How big is the television?

A. About like that. I don't remember how
many inches it was. I know it fit my room.

Q. Okay. But you don't know how many
inches -- generally televisions are measured --

A. Geez, I have to look at that stuff that I

submitted. I had a whole manual and stuff. It's
in there.

QO. Okay. We'll look at that in a minute.
This is not a memory test --

A. Okay.

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Q. Yeah.
A. I don't know.
Q. Do you know whether the Sylvania

television has a CRT tube in it?
A. It's the same objective appearance as the

Magnavox and is that technology.

Q. Have you --
A. It wasn't a flat screen, so...
Q. Have you done anything to confirm that the

Sylvania television has a CRT tube in it?
A. No.
Q. You haven't called Sylvania to make sure

or opened up the TV to make sure or done anything

else?
A No
Q. Do you know who manufactured the CRT that

you believé is in the Sylvania television?

A. Do I know who manufactured, no.

Q. And you believe you purchased it from
RadioShack?

A. I believe, yes.

Q Same store --

A. I believe so.

Q. -- where you purchased the Magnavox?

A Yeah.

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of the defendants that manufactured the CRT in your
television?

A. I just know it was manufactured by
Sylvania, that that was the...

Q. The television was manufactured by

Sylvania, right?

A. Yeah.

Q. But the CRT, you don't know who
manufactured --

A. I don't.

(Reporter marked Exhibit No. 51 for
identification.)
(Discussion off the record.)
THE VIDEOGRAPHER: The time is now 10:45,
and we are going off the record.
(Whereupon a recess was taken.)
THE VIDEOGRAPHER: The’ time is now 10:46,
and we are on the record.

Q. BY MR. BRADSHAW: Ms. Slagle, we are back
on the record, and I would just remind you that you
are still under oath.

Do you understand that?
A. I do.
Q. And the court reporter has handed you a

document that's marked as Exhibit 51.

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of -- for purposes of this litigation?
A. Yes.
Q. In looking at Exhibit 51, does anything in

Exhibit 51 give you any indication of who actually
manufactured the CRT tube in the television?

A. No.

Q. And you don't know which entity
manufactured the tube in your television, correct?

A. No.

Q. Going back to the Sylvania television --
when you purchased the product, is it your --
strike that.

Do you believe you've been damaged as a

result of your purchase of the Sylvania television?

A. Economically.
Q. In what way economically?
A. Well, if the allegations are correct,

there was price-fixing, and that makes the cost go

up for the end consumer.

Q. What if the allegations are incorrect,
have you been damaged?
MR. GRALEWSKI: Object to the form of the
question. Vague and ambiguous. Calls for a legal
conclusion.

THE WITNESS: If the allegations are

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Q. But you don't know whether or not you
would have been damaged economically in that
scenario?

MR. GRALEWSKI: Object to the form of the
question. Asked and answered. Incomplete
hypothetical. Lacks foundation. Vague and
ambiguous. Calls for legal and expert testimony.

THE WITNESS: I don't know.

Q. BY MR. BRADSHAW: And what about if the
CRT in your television was manufactured by a
company that is not alleged to have participated in
the price-fixing conspiracy, if that were the case,
have you been damaged economically by the purchase
of your television?

MR. GRALEWSKI: Object to the form. Vague
and ambiguous. Incomplete hypothetical. Lacks
foundation. Calls for legal and expert testimony.

THE WITNESS: I would assume no.

Q. BY MR. BRADSHAW: And what if the scenario
hypothetically speaking is one in which the
entities that purchased the CRT tubes, for whatever
reason, were not able to pass along any increase in
the price of those tubes, incorporate that price
into the price of the television in that scenario,

would you have been damaged economically by the

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